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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

                                                      :
IN RE: AUTOMOTIVE PARTS                               : Master File No. 12-md-02311
ANTITRUST LITIGATION                                  : Hon. Marianne O. Battani
                                                      :
                                                      :
ALL PARTS                                             :
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                                                      :
                                                      :
                                                      :
THIS DOCUMENT RELATES TO:                             :
                                                      :
ALL AUTOMOBILE DEALER ACTIONS                         :
                                                      :


  AUTOMOBILE DEALER PLAINTIFFS’ MOTION AND BRIEF TO SEAL FROM
  PUBLIC VIEW TRANSCRIPT OF MAY 11, 2016 HEARING ON DEFENDANTS’
     MOTION TO LIFT THE PROVISIONAL SEALING OF A PORTION OF
         THE RULE 30(B)(1) DEPOSITION OF GEORGE R. NISBET

       Pursuant to Federal Rule of Civil Procedure 26(c), the Automobile Dealer Plaintiffs hereby

move the Court for an Order sealing from public view the transcript of the May 11, 2016 hearing on

Defendants’ Motion to Lift the Provisional Sealing of a Portion of the Rule 30(B)(1) Deposition of

George R. Nisbet, and in support state the following:

       1.      On May 11, 2016 the Master held a hearing on Defendants’ Motion to Lift the

Provisional Sealing of a Portion of the Rule 30(B)(1) Deposition of George R. Nisbet.

       2.      During the course of the hearing, the parties discussed matters that have been

designated as Highly Confidential by Dealership Plaintiffs, pursuant to the Stipulation and Protective

Order Governing the Production and Exchange of Confidential Information entered in 2:12-md-

02311-MOB-MKM [Doc. #200], which authorizes and requires filings containing Highly

Confidential Information to be filed under seal in any case within 12-md-02311.




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        3.      Therefore it is appropriate to designate the hearing transcript as highly confidential

prior to the placement of the transcript on the publicly available docket for this case.

        4.      Pursuant to LR 7.1(a) counsel for Dealership Plaintiffs state that they have contacted

counsel for Defendants regarding the relief requested in this Motion and that Dealership Plaintiffs

have been unable to obtain concurrence in the relief sought. The Dealership Plaintiffs do not

request a hearing for this motion.

        WHEREFORE the Dealership Plaintiffs respectfully request that the Master grant their

Motion and issue an Order sealing from public view the transcript of the May 11, 2016 hearing on

Defendants’ Motion to Lift the Provisional Sealing of a Portion of the Rule 30(B)(1) Deposition of

George R. Nisbet.


Dated: May 27, 2015
                                                By: /s/ Alexander E. Blum
                                                Gerard V. Mantese (P34424)
                                                Alexander E. Blum (P74070)
                                                MANTESE HONIGMAN, P.C.
                                                1361 E. Big Beaver Road
                                                Troy, MI 48083
                                                Telephone: (248) 457-9200
                                                Facsimile: (248) 457-9201
                                                gmantese@manteselaw.com
                                                ablum@manteselaw.com

                                                Interim Liaison Counsel for the Automobile Dealer Plaintiffs

                                                Jonathan W. Cuneo
                                                Joel Davidow
                                                Victoria Romanenko
                                                CUNEO GILBERT & LADUCA, LLP
                                                507 C Street, N.E.
                                                Washington, DC 20002
                                                Telephone: (202) 789-3960
                                                Facsimile: (202) 789-1813
                                                jonc@cuneolaw.com
                                                Joel@cuneolaw.com
                                                Vicky@cuneolaw.com




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                                             Don Barrett
                                             David McMullan
                                             BARRETT LAW GROUP, P.A.
                                             P.O. Box 927
                                             404 Court Square
                                             Lexington, MS 39095
                                             Telephone: (662) 834-2488
                                             Facsimile: (662)834.2628
                                             dbarrett@barrettlawgroup.com
                                             dmcmullan@barrettlawgroup.com

                                             Shawn M. Raiter
                                             LARSON KING, LLP
                                             2800 Wells Fargo Place
                                             30 East Seventh Street
                                             St. Paul, MN 55101
                                             Telephone: (651) 312-6500
                                             Facsimile: (651) 312-6618
                                             sraiter@larsonking.com

                                             Interim Co-Lead Counsel for the Automobile Dealer Plaintiffs




                                CERTIFICATE OF SERVICE

        I, Alexander E. Blum, hereby certify that I caused a true and correct copy of the above
papers to be served via e-mail upon all registered counsel of record via the Court’s CM/ECF system
on May 27, 2016.

                                             /s/Alexander E. Blum______
                                             Alexander E. Blum
                                             Mantese Honigman, P.C.




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